
	OSCN Found Document:AMENDMENT TO RULES FOR MANDATORY JUDICIAL CONTINUING LEGAL EDUC.

	
				
            
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				AMENDMENT TO RULES FOR MANDATORY JUDICIAL CONTINUING LEGAL EDUC.2014 OK 77Decided: 09/08/2014As Corrected: September 11, 2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 77, __ P.3d __

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL 
RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

RE: AMENDMENT TO RULES FOR MANDATORY JUDICIAL CONTINUING LEGAL 
EDUCATION


O R D E R
Pursuant to our general superintending control over all inferior courts, 
Okla. Const. art. 7, §4 and our general administrative authority over state 
courts, Okla. Const. art 7, §6, we hereby amend Rule 2 of the Rules for 
Mandatory Judicial Continuing Legal Education, 5 O.S. 2011, Ch. 1, App. 4-B. 
Amended Rule 2 is set out in the attachment hereto.
It is therefore ordered that the amendment to Rule 2 of the Rules for 
Mandatory Judicial Continuing Legal education is hereby approved and adopted and 
shall be effective immediately. It is further ordered that Rule 2 of the Rules 
for Mandatory Judicial Continuing Legal Education as amended shall be included 
in the official publication of the Oklahoma Statutes.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 8th day of 
September, 2014.

/S/CHIEF JUSTICE

Colbert, C.J., Reif, V.C.J., Kauger, Watt, Edmondson, Taylor, Combs, Gurich, 
JJ., concur.
Winchester, J., not voting.
ATTACHMENT
Rule 2. Approved Courses for Mandatory Judicial Continuing Legal 
Education
The hours of Mandatory Judicial continuing Legal Education must be obtained 
by attendance at MJCLE courses or programs provided by the Administrative Office 
of the Courts, or a National Judicial College course, or programs presented 
at monthly meetings of the Oklahoma Chapters of the American Inns of Court, 
or any other program specially approved by the Chief Justice of the Oklahoma 
Supreme Court for MJCLE. General continuing legal education programs or courses 
may not be used to satisfy the MJCLE requirement.




	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	Title 5. Attorneys and the State Bar&nbsp;CiteNameLevel&nbsp;5 O.S. Rule 2, Approved Courses for Mandatory Judicial Continuing Legal EducationCitedCitationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		